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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA

                                      (Alexandria Division)

MATTHEW SOUTER,                                      )
                                                     )
       Plaintiff,                                    )
                                                     )
v.                                                   ) C.A. #1:20-cv-1295 (TSE/JFA)
                                                     )
C. T. IRBY, et al.                                   )
                                                     )
       Defendants.                                   )



                                      CONSENT ORDER

       As stated in open count following the conclusion of trial in this case on August 18, 2022,

plaintiff Matthew Souter has sixty days from the conclusion of trial to file for an award of

attorney’s fees and costs under 42 U.S.C. §1988 if the matter cannot be resolved by agreement

among the parties.



       Dated: August ___, 2022                       ______________________
                                                     United States District Judge
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                                       Certificate of Service


        I, Victor M. Glasberg, hereby certify that on this 19th day of August 2022, I electronically
filed the foregoing Consent Order with the clerk’s ECF system.

                                                                //s// Victor M. Glasberg
                                                                Victor M. Glasberg, #16184
                                                                Victor M. Glasberg & Associates
                                                                121 S. Columbus Street
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